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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                          :
In re:                                                    : Chapter 11
                                                          :
EMAS CHIYODA SUBSEA LIMITED, et                           : Case No. 17-31146 (MI)
al.,                                                      :
                                                          : (Jointly Administered)
                 Debtors.1                                :


       NOTICE OF SALE, BIDDING PROCEDURES, AUCTION, AND SALE
             HEARING REGARDING LEWEK FALCON VESSEL

               1.     On, December 8, 2017, Lewek Falcon Shipping Pte. Ltd. (the
“Debtor”) filed with the Bankruptcy Court for the Southern District of Texas, its motion
for (I) An Order (A) Establishing Bid Procedures Related to the Sale of the Lewek Falcon
Vessel, (B) Scheduling a Hearing to Consider the Proposed Sale and Approving the Form
and Manner of Notice Thereof, and (C) Granting Related Relief, and (II) An Order (A)
Approving the Proposed Sale And (B) Granting Related Relief (the “Sale Motion”).2

             2.     On December 14, 2017, the Bankruptcy Court entered the Bidding
Procedures Order [Docket No. 798]. A copy of the Bidding Procedures Order is attached
hereto.

              3.      Under the Bidding Procedures Order, the deadline to submit
Qualified Bids is January 10, 2018.

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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification
    number and jurisdiction of formation are as follows: EMAS CHIYODA Subsea Limited (UK) (3187);
    EMAS Chiyoda Subsea Inc. (Delaware) (7884); EMAS CHIYODA Subsea Marine Base LLC (Texas)
    (5974); Lewek Falcon Shipping Pte. Ltd. (Singapore) (041E); EMAS CHIYODA Marine Base
    Holding Co., LLC (Texas) (7463); EMAS Chiyoda Subsea Services Pte. Ltd. (Singapore) (333Z);
    EMAS-AMC Pte. Ltd. (Singapore) (0442); EMAS Saudi Arabia Ltd. (Saudi Arabia) (0669); Lewek
    Constellation Pte. Ltd. (Singapore) (376E); EMAS CHIYODA ROV Pte. Ltd. (Singapore) (049M);
    EMAS CHIYODA Subsea Services B.V. (Netherlands) (4073); EMAS CHIYODA Subsea Services
    (UK) Limited (Scotland) (3187); EMAS CHIYODA Subsea Services LLC (Delaware) (1728); EMAS
    CHIYODA Subsea (Thailand) Co., Ltd. (Thailand) (1011); Gallatin Marine Management, LLC
    (Delaware) (8989). The address of the Debtors’ U.S. headquarters is 825 Town & Country Ln, Suite
    1500, Houston, TX 77024.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
    the Sale Motion. Any summary of the Bidding Procedures and the Bidding Procedures Order
    contained herein is qualified in its entirety by the actual terms and conditions in the Bidding
    Procedures or the Bidding Procedures Order, as applicable. To the extent that there is any conflict
    between any such summary and such actual terms and conditions, the actual terms and conditions shall
    control.



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               4.     If multiple Qualified Bids are received, the Debtor will filed a
Notice of Qualified Bids by January 12, 2018.

               5.     If multiple Qualified Bids are received, an auction for the Falcon
Vessel will be conducted on January 16, 2018, commencing at 10:00 a.m. Central Time at
the office of Porter Hedges, LLP, 1000 Main Street, 36th Floor, Houston, Texas 77002.
Only Qualified Bidders may participate at the auction.

               6.     The deadline to object to the proposed sale is January 17, 2018
at 5:00 p.m.

               7.      A hearing to approve the sale to the party submitting the Highest
and Best Bid shall take place on January 18, 2018 at 2:00 p.m. in Courtroom 404, 515 Rusk,
Houston, Texas 77002.

          8.   THE FAILURE OF ANY PERSON OR ENTITY TO FILE
AND SERVE AN OBJECTION BY THE OBJECTION DEADLINE SHALL BE A
BAR TO THE ASSERTION BY SUCH PERSON OR ENTITY OF ANY
OBJECTION TO THE SALE MOTION, THE SALE ORDER, THE SALE
TRANSACTION, OR THE SALE.



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